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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW HAMPSHIRE

SCOTTSDALE CAPITAL ADVISORS CORP,                      )
AND JOHN HURRY,                                        )
                                                       )
                       Plaintiffs,                     )
                                                       ) CASE NO. 1:16-CV-00545
       v.                                              )
                                                       )
THE DEAL, LLC AND WILLIAM MEAGHER,                     )
                                                       )
                       Defendants.                     )

                                     DISCLOSURE STATEMENT

                                        LOCAL RULE 7.1.1

       NOW COMES Defendant, The Deal, LLC, and pursuant to Federal Rule of Civil Procedure

and Local Rule 7.1.1, hereby files the following Disclosure Statement.

❒ The filing party, a nongovernmental corporation, identifies the following parent corporation

and any publicly held corporation that owns 10% or more of its stock:

-OR-

❒ The filing party, a partnership, identifies the following parent corporation and any publicly held

corporation that owns 10% or more of the corporate partner's stock:

-OR–

☑   The filing party, a limited liability company (LLC), identifies the following parent corporation


and any publicly held corporation that owns a 10% or more membership or stock interest in the

LLC: The Street, Inc. owns 10% or more of The Deal and is publicly traded.

-OR-

❒ The filing party identifies the following publicly held corporations with which a merger

agreement exists:
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-OR-

The filing party has none of the above.

       Respectfully submitted this 22nd day of December, 2016.

                                          /s Steven M. Gordon
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                                          Attorneys for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Disclosure Statement Rule 7.1.1 was served on the

following persons on this date and in the manner specified herein:

       Electronically Served Through ECF:

       Conventionally Served:
       George R. Moore, Esq.
       NH Bar # 1791
       Devine, Millimet & Branch, P.A.
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       Attorneys for Plaintifs




Date: December 22, 2016                      /s Steven M. Gordon
                                             Steven M. Gordon
                                             New Hampshire Bar No. 964




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